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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    4:13CR3057

       vs.
                                                          MEMORANDUM AND ORDER
SCOTT USHER, ROBIN USHER,

                      Defendants.


        The defendants have moved to continue the pretrial motion deadline, (filing nos. 27 and
29) and the scheduled trial. Scott Usher needs additional time to fully review the discovery
received before deciding if pretrial motions should be filed; Robin Usher is awaiting receipt of a
report before making that decision. The motion to continue is unopposed. Based on the showing
set forth in the defendants’ motions, the court finds the motions should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendants’ motions to continue, (filing nos. 27 and 29), are granted.

       2)      As to both defendants, pretrial motions and briefs shall be filed on or before
               March 12, 2014.

       3)      As to both defendants, trial of this case is continued pending resolution of any
               pretrial motions filed.

       4)      The ends of justice served by granting the motions to continue outweigh the
               interests of the public and the defendants in a speedy trial. Accordingly, as to
               both defendants, the additional time arising as a result of the granting of the
               motions, the time between today’s date and March 12, 2014, shall be deemed
               excludable time in any computation of time under the requirements of the Speedy
               Trial Act, because despite counsel’s due diligence, additional time is needed to
               adequately prepare this case for trial and failing to grant additional time might
               result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

       February 11, 2014.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
